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    Deepwater Horizon Containment and Response:
       Harnessing Capabilities and Lessons Learned
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 BP has prepared this report as a follow up to discussions with the Bureau of Ocean
  Energy Management, Regulation and Enforcement (BOEMRE) in order to provide
     a preliminary outline of some of the important lessons learned in the course
   of responding to the explosion on the Deepwater Horizon drilling rig, focusing
    in particular upon the key equipment, facilities and planning tools that were
 successfully deployed in responding to this event. The purpose of this report is to
   assist BOEMRE in assessing the capabilities that are now available to respond to
    oil spills in the Gulf of Mexico region. The response to the Deepwater Horizon
      incident has involved many participants and, accordingly, no report of this
                 nature and prepared at this time can be comprehensive.

     The report makes no attempt to cover all aspects of the Deepwater Horizon
  response to date, and our understanding of how best to learn from the response
  will evolve as the response continues to develop. This report is not an evaluation
   of any aspect of the oil spill response capabilities existing prior to the incident,
   nor does it provide a plan or proposal for how industry and government might
       respond to any future oil spill event. Separately, BP is conducting its own
      investigation of what caused the Deepwater Horizon incident, and is fully
     participating in government investigations as well. Information from those
                efforts will be shared with the government and public
                           through the appropriate channels.

                                  September 1, 2010
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 The Deepwater Horizon incident, with the loss of eleven lives, was a terrible tragedy
       for the victims and their families, and for the people of the Gulf Coast.

 At the same time, there is inspiration in the way thousands of selfless and dedicated
  women and men have devoted themselves to addressing the challenges from the
       Deepwater Horizon incident. The entire spill response has been and will
      continue to be conducted under the Unified Command structure, in which
  ultimate authority resides in the United States Coast Guard. Within that structure,
    the efforts of individual responders and the teams in which they have worked
                   have been critical to the clean-up of the Gulf Coast.

  BP shares with everyone else a determination that an oil spill of this magnitude will
  never again occur in this country, or anywhere else. This document is a follow up to
discussions between BP and the Bureau of Ocean Energy Management, Regulation and
           Enforcement relating to steps that can be taken to ensure that the
       oil exploration industry, operating under the Coast Guard’s direction, can
     respond to an oil spill of any size from a marine facility quickly and effectively.
                     We appreciate your comments and feedback.
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   As we at BP look back over events since April 20, our sense of concern over the
   Deepwater Horizon incident, and our determination to make things right for the people, environment and communities
   of the Gulf Coast region have never been stronger.

   One way we can help make things right is to share - with the industry, government at all levels, and a wide range of
   stakeholders - the lessons learned and the capabilities developed. We believe this will enhance response to future
   incidents of any size.

   The nature of the Deepwater Horizon incident – including the scope, scale, and complexity of the response – has driven
   large capability advances for the oil exploration industry as a whole. These new capabilities should be an integral part of
   an improved planning and response regime for industry, government and other responders. We believe it is valuable to
   document them even as our response efforts continue. These advances can serve as part of an initial discussion on how
   to institutionalize the increased capabilities and ensure that they can be readily mobilized in addressing a marine oil spill
   of any size.
                                                                                                                                   11

   We believe the experiences and new capabilities gained can be grouped into four broad areas:


   Lesson 1: Collaboration
   A broad range of stakeholders has come together in the wake of the Deepwater Horizon incident to
   provide effective solutions and build new capabilities.

   It would have been extremely difficult for any one company to address the challenges resulting from Deepwater
   Horizon alone. The response has benefited from close collaboration with and the capabilities of the U.S. Coast
   Guard, Bureau of Ocean Energy Management, Regulation and Enforcement (BOEMRE) and dozens of other part-
   ners and stakeholders from government, industry, academia and the affected communities, as well as
   around the globe.


   Lesson 2: Systemization
   The response has required the development of extensive systems, procedures and organizational capabilities
   to adapt to changing and unique conditions.

   As the Deepwater Horizon spill continued despite efforts at the wellhead, the response effort progressed, expanded, and
   took on not just new tasks and directions but new personnel and resources. As a result, from source to shore, existing
   systems were evolved and expanded and new ones developed to advance work flow, improve coordination, focus ef-
   forts and manage risks. The adoption of these systems will ensure the ability to respond more rapidly at scale with a clear
   direction as to personnel, resource and organizational needs.
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    Lesson 3: Information
    Timely and reliable information has been essential across both the containment and response operations
    to achieve better decision-making, ensure safe operations and inform stakeholders and the public.

    Reliable information is indispensable in managing any crisis but especially amid the far-reaching challenges,
    relentless pressures and often hazardous conditions confronting spill response. The Deepwater Horizon responders
    have been able to take advantage of cutting-edge tools to manage information-sharing inside the Unified
    Command and externally, to improve decision-making and coordinate complex activities across response and
    containment, such as simultaneous operations.

    At the same time, the response has needed not only transparency in providing information but also full
    explanation of the available facts to the public. Communications must address understandable concerns about
    the spill effects, clarify misperceptions, and provide policymakers with the facts, data and rationales they need
    to serve their constituencies in a 24/7 news cycle.


    Lesson 4: Innovation
    The urgency in containing the spill and dealing with its effects has driven innovation in technology,
    tools, equipment, processes and know-how.


2    The result has been a series of developments, ranging from incremental enhancements to step changes in
    technologies and techniques, that have advanced the state of the art and laid the foundation for future
    refinements as part of an enhanced regime for any type of source-to-shore response.

    Highlights of these key capability advancements include:

    Containment (the effort to disperse, cap, close and ultimately stop the release of hydrocarbons at the source):

        •    A variety of new open containment systems proven in deepwater conditions with demonstrated techniques
             to mitigate hydrate formation. (page 9)

        •    The proven capacity to engineer and construct closed systems allowing not only for the collection of
             hydrocarbons but also the control of flow and the introduction of well-control fluids. (page 12)

        •    Safe simultaneous operation of a large number (16 or more) Remotely Operated Vehicles (ROVs) in close
             proximity to perform a wide range of novel interventions on open and closed containment systems. (page 14)
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       •    Development of advanced visualization techniques enabling the simultaneous operation for extended
            periods of a large number (19 or more) major vessels in a narrow radius and hazardous conditions without
            incident. (page 16)

       •    Rapid retrofit of multipurpose vessels for subsea installation, high-volume containment, flaring, Dynamic
            Positioning (DP) vessel to DP vessel offloading, and top kill and hydrostatic kill operations. (page 20)

       •    Initial development of more robust non-wireline ranging technologies for faster well intercept in the context of
            the deepsea drilling of a relief well. (page 22)

       •    Development in a compressed time period of a robust system for long-term containment featuring the first
            installation of free-standing riser, hydrate inhibition and emergency hurricane disconnection capability.
            (page 24)

       •    Novel subsea systems to inject dispersant efficiently at source, with demonstrated effectiveness in substantially
            reducing surface oil and Volatile Organic Compounds (VOCs). (page 26)

       •    Experience in coordinating industry, agency and academic expertise to efficiently produce reliable,
            high-quality data on subsurface, seabed and water column conditions. (page 28)

   Response (the work done in surveillance, on the open water, near shore and onshore to remediate the spill, protect the
   shore, repair damage and respond to local community needs.
                                                                                                                                3
       •    Specific booming plans and placement detail across the four-state response area, grounded by Area
            Contingency Plans (ACPs) and informed by actual performance and effectiveness. (page 34)

       •    An expanded pool of trained responders along with protocols and procedures to integrate and support
            accelerated response to impact on wildlife. (page 36)

       •    In the Vessels of Opportunity (VOO) program, the foundations for a vetted, trained, and knowledgeable fleet
            of committed shoreline and community responders fully integrated into the overall effort through a replicable
            command structure. (page 38)

       •    A single, comprehensive and integrated view of the entire response effort from sky to sea to shore to enable
            rapid, coordinated decision-making. (page 40)

       •    An in-place repeater radio system stretching from the Florida Panhandle to Louisiana and a robust
            software information backbone supporting communications across response activities. (page 42)
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    •   Modular scale-up of Shoreline Clean-up Assessment Teams (SCATs), a critical asset in shoreline assessment,
        remediation and mapping, with protocols ensuring consistency of process and data collection. (page 44)

    •   The use of strategic and tactical aerial surveillance, including up to 100 sorties on peak days, to serve not only
        as eyes of the response, but as directors for open-water and on-shore activities. (page 46)

    •   A system of branch offices, reflecting the insight that “all oil spill response is local,” with the clear mission,
        authority and dedicated resources to protect local coastlines. (page 48)

    •   New, highly scalable skimming technology, maintenance and deployment systems that enabled the largest
        skimming response in history. (page 50)

    •   Demonstration of controlled in-situ burning as a fully proven technique for oil recovery, featuring advanced
        methodology, equipment and a standing expert base. (page 52)

    •   Precise and effective application of dispersants driven by advanced surveillance technology and operational
        streamlining supported by a network of global experts. (page 54)

    •   The largest mobilization of boom in any oil spill response – a total of more than 14 million feet – and significant
        expansion of the supply chain and of the number of experts. (page 56)

    •   Successful, modular expansion of “small-scale,” minimally invasive clean-up techniques harnessing the natural
4       remediation of marsh with the capability to deploy responders to remote locations with limited
        infrastructure. (page 58)

    •   New turnkey approaches to beach cleaning employing advanced technology, sensitivity to the public, close
        cooperation with communities and a pool of trained community responders. (page 60)
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   Response Metrics




   A daily briefing at an Incident Command Post (ICP). The response was
   coordinated from five ICPs in Houma, LA, Houston, TX, Mobile, AL, Miami, FL
   and Galveston, TX.
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Updated August 22; 2200 Hours

                       Assigned Equipment Resources                                                        Overall Personnel Resources
Number




                                                                                  Number
                      Containment Boom Deployment                                             Containment Recovery Volume                                 Oily Water Recovered



                                                                                  Barrels




                                                                                                                                                Barrels
Feet




A review of some key metrics – Assigned Equipment Resources, Overall Personnel Resources, Containment Boom Deployment and Containment Recovery Volume,
and Oily Water Recovered – gives a sense of the scale, scope and duration of the response and containment efforts.
                                                                                                                              1
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    The Nature of the Challenge

    The Deepwater Horizon incident has presented far-reaching challenges on a number of levels to BP and to those who
    collaborated with the company on the response.

    The first challenge has been the unprecedented scale, intensity and duration of the incident and the corresponding
    response. The company had a plan in place that conformed to regulatory requirements, but no plan can foresee every
    development and contingency. As the spill continued and touched a wider area and range of stakeholders, response
    teams learned and adjusted. For example:

        •    Shortly after establishing the first Incident Command Post (ICP) in Houma, Louisiana, additional ICPs were
             required to manage the scale and uncertainty of the approaching spill. Over time, the response teams saw
             opportunities for altering the response structure to ensure support and authority flowed rapidly to local
             leadership and communities;

        •    ICP leaders and responders understood that a comprehensive view of the specific location of surface oil, along
             with robust communication among leadership, airborne units and responders on the water, would allow
             efficient allocation of resources; and

6       •    As it became clear that the spill could last for a considerable time and hurricane season approached, the
             response team stepped up its long-term planning for issues such as boom and skimmer supply and
             placement and inclement-weather operations.

    A second challenge involved the complex conditions in which the spill response was taking place. At the source,
    containment teams were operating amid extreme conditions in terms of pressure, temperature and flow.
    For example, the spill location and depth involved high pressure (approximately 2240 psi) and low temperatures
    (approximately 39 degrees F). This was conducive to the formation of methane hydrates, which hindered initial efforts
    at open-system containment.
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   Over time, these experiences led to enhanced capabilities that can benefit the industry and the public
   in the future:

        •    By thinking ahead and planning strategically, the response addressed a dynamic operating environment;

        •    Identifying, sequencing, and building a suite of parallel technical options enabled rapid solutions; and

        •    Responding through local integration enabled operational solutions leveraging community experience and
             addressing local needs (Branch Office construct).

   The following sections lay out the lessons learned and applied not just to overcome major challenges that accompanied
   the Deepwater Horizon incident, but also to create new capabilities to advance the state of the art in responding to spills
   of any size, and, in several instances, to offer broader applications.




                                                                                                                                             7




    The response effort from the seabed to the shoreline and across four states. The response dealt with challenges of unprecedented scale
    under complex conditions.
                                                                                                                                 2
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    Building New
    Containment Capabilities
    Since the early days of the Deepwater Horizon incident, a team of hundreds of professionals has participated on-site and
    from the Houston operations headquarters in designing and implementing containment approaches.

    Teams were already in action on April 21 attempting to close the well via remotely operated vehicles (ROVs) working on
    the blowout preventer (BOP). Within a few days, project teams were identifying, methodically ordering and designing a
    suite of options in the areas of open and closed containment.

    The implementation efforts extended across industry, government and the scientific community, design departments
    and manufacturing facilities, and throughout the supply chain, all with a single goal: to contain, disperse and ultimately
    stop the flow of hydrocarbons into the Gulf of Mexico.

    Working within the Unified Command structure led by the U.S. Coast Guard, the Deepwater Horizon response team
    has accepted a range of important challenges. Those challenges have required the leveraging and modification of
    capabilities of vessels, equipment and devices. Due to the nature of tools required, multiple efforts were simultaneously
    launched to build ever-increasing containment capability. New procedures and protocols have been established for
8
    containment operations, and new organizations, systems and supply chains have been created.

    The first-of-a-kind situations confronted, along with the highly compressed timeframes and the challenge of stemming
    the flow of hydrocarbons, drove the participants in the containment effort to expand existing equipment and processes
    and to develop innovative solutions, while maintaining high standards of safety and assurance and building in multiple
    options and redundant systems.

    Ultimately, the response yielded incremental, and in many cases step change improvements, beyond the existing state
    of the art across the range of disciplines involved.
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                               Near-Source Open Containment
                                                                                                                             HOT SEA WATER
                               The open-containment operation was engaged in some of
                               the highest profile and most closely scrutinized efforts in the
                                                                                                                                       Hot sea water is
                               overall response. Many of their activities were broadcast                                               pumped through
                               live to a worldwide audience, as they pursued a range of                                                riser to warm the
                               initiatives to capture the flow of hydrocarbons from the                                                fluids returning
Supplemental multimedia                                                                                                                up the drill pipe
 available for this subject:   wellhead and thereby limit the environmental impact until
   Top Hat Installation        a closed containment system and hydrostatic kill operations
                               could be implemented.

                               Prior Industry Practice in Open Containment: Prior to the                   DRILLSHIP LMRP                METHANOL
                                                                                                                                          METHANOL
                               incident, industry experience with open-containment
                               measures – involving the capture of hydrocarbon flow in                                                     Methanol is used as
                               open water without latching or sealing – had occurred in                                                    hydrate inhibitor and
                                                                                                                                           must be continually
                               shallow water and involved lower volumes.
                                                                                                                                           flowing while LMRP
                                                                                                                                           cap is positioned
                               Past experience had presented no occasion for industry to
                               attempt subsea open containment at the depths and                                                Nitrogen is continually pumped
                               conditions involved in Deepwater Horizon. In particular,                                         down the drill pipe to keep the
                                                                                                                                pipe free from seawater before
                               prior open-containment efforts had not needed to address
                                                                                                                                use to recover hydrocarbons        9
                               the fluid properties produced by the combination of the
                               hydrocarbons, deep-ocean pressures and cold seawater that
                               contributed to the formation of hydrates.                                        TOP HAT
                                                                                                      The open containment team’s rapid engineering of a
                                                                                                      hydrate-inhibition system allowed successful installation
                               Innovations Undertaken in Open Containment: The                        of a top hat.
                               containment team, under the supervision of Unified Command,
                               painstakingly prepared and developed multiple systems in undertaking
                               a range of first-of-a-kind deepwater open-containment efforts.




                               CAPABILITY HIGHLIGHT
                               A variety of new open-containment systems proven in
                               deepwater conditions with demonstrated techniques to
                               mitigate hydrate formation
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     These innovations included:

         •    The development of three variations of Riser Insertion Tube Tools (RITT), one of which was successfully
              deployed on May 16 as an interim solution. The RITT demonstrated the team’s ability to lift more than 6,000
              barrels of oil a day, and more than 22,000 barrels total, from the broken well riser to a surface vessel. A total of
              three RITTs were constructed, although only the first was put into operation;

         •    Ten “top hat” open-containment devices designed for a variety of connection scenarios. Eight top hats in total
              were constructed, and one top hat was deployed. The top hat design involved the construction of a device
              smaller than the previously used cofferdam. The base design also inhibited hydrate formation through venting
              of hydrocarbons, injection of methanol, a passive water seal and a column of nitrogen inside the connected
              pipe and top hat to initiate containment;

         •    The successful installation of a top hat over the Deepwater Horizon BOP to recover more than 17,000 barrels of
              oil per day, and 500,000 barrels total, to a surface vessel;

         •    Recovery of gas critical in maintaining low VOCs at the working surface; and

         •    The use of standardized, interchangeable connections (J-latches) on the top hats and RITTs, which allowed for
              various tools to be stored on the seafloor for contingent use if or when required.

     Resulting Capabilities Available for Deployment: These innovations have resulted in a series of new open
10   containment capabilities that can be adapted and refined for deployment including:

         •    Specifications for and an existing inventory of immediately deployable top hat and RITT open-containment
              devices that are proven at depth, standardized for attachments and further evolved from the initial design;

         •    The creation of demonstrated techniques to minimize hydrate formation on open-collection devices;

         •    The conversion to standardized components for tool interchangeability;

         •    Protocols for system integration tests and diagnostic pressure measurements; and

         •    Plans and organizational schemes for immediate stand-up of a dedicated near-source containment team.
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   Subsea Containment Scheme




   The Q4000, a multipurpose vessel used both for a range of subsea containment activities and for collection
   and disposal of oil.
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Subsea Containment Scheme: The Final State.
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     Near-Source Closed Containment
     The objective of the closed-containment team was to provide the capacity to move from an open system of collection
     to a closed system – with a latched, sealed and pressure-containing device – allowing not only for the collection of
     hydrocarbons but also the control of flow, as well as the introduction of well-control fluids used in top kill and
     hydrostatic kill operations.                                                                                                      Supplemental multimedia
                                                                                                                                       available for this subject:
                                                                                                                                       ROV Video 1
                                                                                                                                       ROV Video 2
     Prior Industry Practice in Near Source Closed Containment: As with open containment, offshore operators had                       ROV Video 3
                                                                                                                                       ROV Video 4
     made repairs to closed systems, such as pipelines that seal off surrounding water from contact with hydrocarbons.                 ROV Video 5
     However, activities of this nature had not been undertaken at such depths.                                                        ROV Video 6
                                                                                                                                       ROV Video 7
                                                                                                                                       ROV Video 8

     In particular, no operator had:

          •     Engaged at depths of 5,000 feet in shearing and removal of damaged risers with one-inch thick walls;

          •     Dismantled and reconstructed closed systems to cap a wellhead in deepwater; or

                                                      • Attempted these containment procedures on a live well.


12                                                    Innovations Undertaken in Near-Source Closed Containment: The
                                                      containment team meticulously planned and successfully completed a
                                                      range of first time engineering and operational tasks. These efforts enabled
                                                      larger-scale collection of hydrocarbons through closed systems, the
                                                      closing off of the well, and the later hydrostatic kill and cementing of the
                                                      well. Advances included:

                                                      • The construction and installation of a subsea manifold connected to
                                                        the BOP for the purpose of implementing a top kill and
                                                        its successful conversion to a flow manifold as a further means to
                                                        remove hydrocarbons from the wellhead to a collection vessel. The
                                                        construction and installation of the manifold was completed in just two
                                                        weeks. Under normal circumstances, a comparable design-build-deploy
                                                        cycle would have been 18 to 24 months;




                                                                      CAPABILITY HIGHLIGHT
     The Capping Stack, connected to the well via                    The proven capacity to engineer and construct closed systems
     the transition spool to the Lower Marine Riser
     Package and blowout preventer. Successful                       allowing not only for the collection of hydrocarbons but also
     installation of the Capping Stack represented                   the control of flow and the introduction of well-control fluids
     the completion of the closed system that
     allowed for initial shut-in of the well flow.
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       •    The first-ever use of digital radiography at depth to evaluate drill pipe within the damaged riser;

       •    The first-ever use of shears and other tools at depth to cut and then remove a damaged riser;

       •    The creation of a wet mateable control connection system for hurricane recovery;

       •    The development and installation of a closed system atop the Lower Marine Riser Package (LMRP) above the
            BOP including the removal of a flange and the installation of a transition spool and capping stack;

       •    The use of the closed system to control the source and later to close off the well and stop the flow of
            hydrocarbons; and

       •    The utilization of the manifold as an integral part of the successful hydrostatic kill to seal off and stop the flow
            from the well.

   Resulting Capabilities Available for Deployment: Through these activities, BP and its collaborators can offer a range
   of new capabilities:

       •    The capability to perform digital radiography at depth;

       •    The capability to cut and remove damaged risers and debris;

       •    Specialized tools designed to work at depth to remove and install this equipment;                                      13


       •    The ability to construct a closed system, using flange tools, latch caps and stacks, to enable control of flow;

       •    Specifications and constructed devices for redundant systems in case of failure of initial containment
            efforts; and

       •    Plans and organizational schemes to support standup of a dedicated near-source containment team.
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     Subsea Operations: Remotely Operated Vehicles
     A critical tool used in the containment effort was a fleet of expertly maneuvered Remotely Operated Vehicles (ROVs).
     Without these versatile machines, and the collaboration of the companies that own them, most if not all of the tasks the
     containment team was called upon to complete would have been virtually impossible.

     Prior Industry Practice in Subsea Operations: Offshore operations industry-wide benefit from the wide availability of
     advanced, highly capable ROVs that have long operated at depths of up to 9,000 feet. BP, as a leading subsea operator,
     and key contractors have made extensive use of the vehicles to carry out a broad variety of maneuvers, many similar in
     nature to those required for containment efforts in Deepwater Horizon.

     The standard deployment of ROVs at a very active deepwater site would normally involve approximately six vehicles
     managed by three vessels. The ROVs, which are operated via tethers that could be subject to tangling, would not
     normally be called upon to work in the same numbers and in such close proximity as required for Deepwater Horizon
     response.

     Moreover, a number of usual procedures for operating ROVs would have been inefficient or time-consuming to
     maintain at the containment site, including bringing the vessels back to the surface to switch out tools – a step that
     would require trips of up to four hours in each direction.

     Innovations Undertaken in the Operations of ROVs: The containment team, through extensive storyboarding to
14   plan operations and manage risk, advanced the state of the art in the simultaneous operation of multiple ROVs in a
     number of areas:

         •    The deployment, at peak, of 27 ROVs at depth overcoming harsh pressure and temperature conditions, low
              visibility, and distance from the surface;

         •    The simultaneous operation of up to 16 ROVs – nearly three times the number generally deployed at a very
              active single site – managed by eight surface boats;

         •    The extension of operational durations beyond the previous industry norm of a 10-day maximum with one
              ROV deployment lasting 33 days. Work was transferred between ROVs as needed to maintain continuity and
              advance time-critical operations;




                                                                   CAPABILITY HIGHLIGHT
                                                                  Safe simultaneous operation of 16 ROVs in close proximity
                                                                  to perform a wide range of novel interventions on open- and
                                                                  closed-containment systems
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        •     Centralized management of these simultaneous subsea operations from the integrated Highly Immersive
              Visualization Environment (HIVE) command center in Houston. This consolidated management approach
              reduced the complexity of direction to offshore, created efficiencies and time savings, reduced the potential
              for conflict or accidents, ensured the ability to interact and share knowledge when designing procedures or
              tasks and streamlined the development of contingencies and changes;

        •     Advanced engineering of tasks to be “ROV-friendly” – for example, the use of specially designed grips on
              components to be installed to make handling and maneuvering easier;

        •     The implementation of standardized “plug-and-play” interfaces allowing use of the same tools by
              different types of ROVs, as well as deploying subsea “toolboxes” to minimize the need to resurface the
              vessels for change-outs;

        •     The deployment of a large-scale subsea hydraulic accumulator, based on the sea floor near the work area for
              ROVs and powered by a nitrogen charge, that provided and maintained for a longer period the hydraulic
              pressure and flow needed to operate some of the subsea devices via an ROV. The accumulator was also used
              as a redundant system for many other hydraulically actuated devices, such as the capping stack;

        •     The first-time use of ROVs on a number of complex construction, intervention and maintenance tasks such as
              the establishment of connections in closed systems, including a “pit stop” maneuver in which multiple vehicles
              were deployed simultaneously on task to minimize hydrocarbon release; and

        •     Well-integrity and seafloor monitoring through ROV-mounted hydro-acoustic devices mapped into onshore                        15
              telemetry systems while ROVs continued with other tasks.




   Controllers in the Highly Immersive Visualization Environment (HIVE) coordinated the operation of up to 16 remotely operated vehicles
   simultaneously. The centralized management approach created efficiency and enabled novel interventions 5,000 feet below the surface.
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     Resulting Capabilities Available for Deployment: The activities of the containment team have advanced the
     demonstrated capabilities of ROVs for spill containment in the following areas:

          •    Redefining the baseline for efficient and safe simultaneous operation of ROVs;

          •    Reliable operation at depth with demonstration of novel subsea interventions;

          •    New models and communications tools for highly integrated central control and onsite staffing;

          •    Advancements in subsea hydraulic distribution allowing for more efficient operation of ROVs;

          •    Plug-and-play retooling, advancements in subsea tool storage and ROV-friendly engineering and
               fabrication; and

          •    A well-integrity and seafloor monitoring plan facilitated by ROV acoustic telemetry system.



     Simultaneous Operations (SIMOPS)
     The wide variety of tasks conducted by the containment team required the support of a fleet ranging from large drilling
     ships to drilling rigs, multipurpose support vessels to fireboats to tugs, all operating in a highly confined area in
16   hazardous conditions due to the presence of hydrocarbons in the water and the frequent operation of flares on
     recovery vessels.

     SIMOPS management was needed to mitigate the risks and enable these vessels – including some that could not vary
     their positions beyond a few feet without endangering the mission – to maneuver as needed to complete their tasks.

     Prior Industry Practice in Simultaneous Operations: BP SIMOPS experience with Atlantis and Thunderhorse has
     involved the deployment of three to four major ships in close proximity of a platform. These operations have been some
     of the most complex in industry to date. Separations of several hundred meters have been common, with distance
     closing to as little as 40 to 50 feet, but only involving two vessels at a time. Even in cases where these best practices were
     observed, SIMOPS teams have had months to plan the positioning and movement of vessels.




                                                                    CAPABILITY HIGHLIGHT
                                                                    Development of advanced visualization techniques enabling
                                                                    the simultaneous operation for extended periods of 19 major
                                                                    vessels in a narrow radius and hazardous conditions
                                                                    without incident
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   SIMOPS




   The operation of containment and support vessels in a highly confined area above the source was enabled by the establishment of
   a rotating on-site branch director, working in coordination with the Houston-based team and in close collaboration with dozens
   of vessel captains.
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                                                                                                                                     SIMULTANEOUS
                                                                                                DISCOVERER
                                                                                                                                      OPERATIONS
                                                                                                ENTERPRISE
                                        500m Safety Zone                                           Containment                          OVERVIEW


                        DEVELOPMENT                                                                                     500m Safety Zone
                          DRILLER II                           500m Safety Zone
                       Drilling Relief Well 2
                                                                                                      Q4000                                           DEVELOPMENT
                                                                                                    Top Kill Vessel                                    DRILLER III
                                                                                                                                                       Drilling Relief Well 1




                                                                                                                                                            TYPES OF VESSELS:
                    ROVS: INSTALLING                                                                         PREPARING FOR                                       MAJOR VESSELS
                     ACOUSTIC                                                                                 TOP KILL OPERATION
                     TRANSPONDERS
                     FOR ROV SUBSEA                      ROVS: HOLDING THE
                     POSITIONING                          SUBSEA DISPERSANT                                                                                        CONSTRUCTION VESSELS
                     REFERENCING                          INJECTION SPRAY BOOM
                                                          INTO THE PLUME &
                                                          TRENCH MONITORING                   ROVS: AT PLUME                    ROVS: PRESSURE                   SUPPORT BOATS
                                                                                               MONITORING & ON                    MEASUREMENT &
                                                                                               RIT INTERFACE PANEL                VISUAL MONITORING
                                                                                                                                  OF LEAK PLUME                    SKIMMING, BOOMING
                                                                                                                                                                   & DISPERSANT VESSELS


                                                                                                MANIFOLD
                                                     CAPPED DRILL PIPE                 RISER INSERTION TOOL                      WET PARKED TOP HAT
Up to 19 major vessels, some tethered to ROVs 5,000 feet below, operated in close quarters simultaneously within a 500-meter range of the source. The use of advanced
visualization techniques and storyboarding made it possible to plan simultaneous operations in a matter of days rather than months, in a manner that mitigated risk.
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     Innovations Undertaken in Simultaneous Operations: The SIMOPS team, with the cooperation of the owners and
     captains of responding vessels, implemented precision planning and risk management including:

          •    The simultaneous operation, without incident, of up to 19 principal vessels up to 250 meters in length within a
               500-meter radius of the wellhead, and 40 to 50 within a one-mile radius, operating at times with separations of
               25 feet or less;

          •    The establishment of a rotating on-site branch director, working in coordination with the Houston-based team,
               with 24/7 command of vessel operations;

          •    The continuous use of storyboarding as part of the SIMOPS planning process to allow team members to
               visualize the precise positioning and maneuvering of vessels;

          •    Novel applications of the relatively new Automatic Identification Software (AIS) – previously used
               primarily near-shore but enabled by an on-site transponder and the placement of receivers on ships – to
               provide SIMOPS and captains real-time visualization, identification, tracking and positioning of vessels on
               graphic displays;




18




     Remotely Operated Vehicles (ROVs) closing the valve on the end of the damaged riser pipe. Advancements in ROV tooling and subsea
     hydraulic distribution permitted highly efficient ROV operations.
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       •    The conduct of these operations, and the first-ever SIMOPS involving management of flares of hydrocarbons
            from vessels, without compromising BP standards for marine safety even in the presence of high levels
            of Volatile Organic Compounds (VOCs);

       •    The use of sprays from fireboats to create airflows to reduce the VOC levels and to reduce radiant heat from the
            Q4000 flare while in close working proximity to other vessels;

       •    The innovative utilization of dynamic positioning technology not normally used in the Gulf of Mexico,
            including Differential Absolute and Relative Positioning Sensor (DARPS), Artemis, Sidescan, and prisms, as
            well as the use of inertial navigation as a contingency when operators ran out of available communication
            frequencies; and

       •    The first-ever deployment in U.S. waters of offtake operations from one dynamically positioned vessel
            to another.

   Resulting Capabilities: The work of the SIMOPS team in management of the large fleet of vessels included in the
   Deepwater Horizon response under challenging conditions has demonstrated the following capabilities for future
   deployment:

   •   Robust, proven systems and tools for planning and implementing the management of large numbers of vessels at
       extremely close quarters, including storyboarding and a centralized, onsite control regime;

   •   The deployment of AIS as an enabling technology for real-time visualization and management of offshore                  19
       marine operations;

   •   Demonstrated protocols for directing vessel traffic in the presence of flaring, even with the continuous incidence of
       VOCs and the need to ensure that levels were below the lower explosive limits (LELs), as well as new techniques for
       managing the presence of these hazards; and

   •   Unique experience in handling a range of offtake operations at scale, including dynamically positioned (DP) vessel-
       to-DP vessel, DP vessel-to-Mooring vessel, and DP vessel-to-Thruster Assist vessel..
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     Multipurpose Containment/Production Vessels
     The containment team was called upon to engage in a diverse range of tasks including open and closed containment,
     subsea operations, top and hydrostatic kill and hydrocarbon collection, containment, processing, offloading and/or
     flaring. To accommodate these tasks in the limited space available on the surface, the team needed vessels with a high
     degree of capability and flexibility, including the ability to support these tasks while remaining essentially stationary in
     the water.

     The team managed this situation by gaining access to several multipurpose vessels – including the Discoverer
     Enterprise, the Discoverer Clear Leader, the Q4000, Discoverer Inspiration and the West Sirius – but still found the need to
     extend their capabilities and missions to support additional tasks. The Discoverer Enterprise and Q4000 were deployed,
     the Discoverer Clear Leader was fully modified, Discoverer Inspiration was prepared for modification and the West Sirius
     was used to deploy free-standing risers.

     Prior Capability of the Discoverer Enterprise and Q4000: Discoverer Enterprise is the only dynamically positioned
     drill ship in the world that has production test facilities permanently mounted, as well as internal storage capability of
     more than 100,000 barrels. However, the vessel was only designed for short duration well testing at rates of less than
     17,000 barrels/day and in the past had processed a maximum of 35,000 barrels during a test. Originally slated for
     relief-well drilling activities, the Discoverer Enterprise was instead soon pressed into support of subsea containment and
                                                                                                                                    Supplemental multimedia
     installation activities along with its collection and storage capabilities. This deployment required multiphase separation,    available for this subject:
     gas throughput and flaring.                                                                                                    Hydro-Static Kill

20
     The Q4000, in contrast, is a subsea light well intervention vessel that was fitted with equipment to accommodate
     8,000 barrels a day of collection but had no storage. It was used to support the full range of closed containment
     activities, including containment, processing, flaring, and top kill operation.




                                                           CAPABILITY HIGHLIGHT
                                                           Rapid retrofit of multipurpose vessels for subsea installation,
                                                           high-volume containment, flaring, DP vessel-to-DP vessel offloading,
                                                           and top kill and hydrostatic kill operations
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   Innovations Undertaken with the Discoverer Enterprise and Q4000: The existing capabilities of the Enterprise and
   the Q4000 were expanded in unprecedented ways without compromising safety:

       •    Containment at a scale well beyond that anticipated: The Enterprise accommodated more than
            522,000 barrels of total containment, and the Q4000 expanded its containment levels to 8,000 barrels
            of oil per day, and 200,000 barrels total;

       •    The use of flaring to keep oil out of the water in a manner designed to minimize risk. Flaring was used as an
            emergency measure and exhibited efficient destruction capability and relatively low emissions through the
            use of Schlumberger’s Evergreen Burner System. The Q4000, with no storage capacity, flared oil as well as
            natural gas;

       •    Use of the dynamic-positioning capabilities of the Discoverer Enterprise to support the installation of and
            collection of hydrocarbons from the RITT and the top hat. Keeping the open containment devices in place
            required Discoverer Enterprise to maintain its positioning within a tolerance of just five feet, even as it was
            offloading to a vessel required to maintain tension on the connecting hose and to avoid the flare from
            the Q4000;

       •    Deployment of the Q4000 to support closed containment, top kill and hydrostatic kill activities, including the
            installation of the BOP manifold, the top kill and junk shot efforts, the reversal of the manifold to accommodate
            collection, and the successful hydrostatic kill operation; and

       •    Installation of a light-duty intervention riser, previously used on Thunderhorse, which allowed for a quick         21
            connect and emergency disconnect for the Q4000.

   Resulting Capabilities Available for Deployment: The learnings of the containment team in refitting and expanding
   the capabilities of the Enterprise, the Q4000 and later, the Clear Leader and the West Sirius, offer a number of potential
   benefits for the design and deployment of multipurpose vessels for spill response:

       •    A step change in the use of flexible multipurpose vessels fitted both to support the construction and
            operation of open and closed capture devices and to accommodate significant containment and flaring
            and/or offloading; and

       •    Improved understanding of the tolerances and use of the vessels in accommodating well-control fluids, as
            well as the appropriate mixes and management of those fluids in kill situations
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     Relief Wells
     From the beginning, the drilling of a relief well has been planned as a strategy for sealing the Deepwater Horizon well.
     Under the direction of Unified Command, BP teams and contractors have progressed with the drilling of two
     relief wells using two deepwater semi-submersible rigs under contract, the Development Driller II (DDII) and the
     Development Driller III (DDIII).

     Existing Industry Practice in Relief Wells: While the drilling of relief wells to kill a well is an established industry
     practice, many of the techniques and equipment required had previously been deployed in land- or shallow
     water- environments, and needed to be adapted in significant respects for deepwater.

     While “ranging” – the process of locating the existing well casing for intercept – had been in use for more than 15
     years, the technology was mature, and required multiple open hole ranging runs. Differences existed among experts
     on appropriate ranging techniques for use in deepwater. Little experience existed in drilling relief wells on floating
     platforms. Moreover, many months are generally spent in planning and preparation before wells are “spudded.”




22                                                                                                                                  Supplemental multimedia
                                                                                                                                    available for this subject:
                                                                                                                                    Relief Well and Ranging




     Ranging is the process of locating the existing well casing
     for intercept. The relief well team initiated the development
     of two innovative non-wireline technologies that will
     enable ranging while drilling relief wells.

                                                                     CAPABILITY HIGHLIGHT
                                                                     Initial development of more robust non-wireline ranging
                                                                     technologies for faster well intercept in the context of the
                                                                     deepsea drilling of a relief well
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   Innovations Undertaken in Relief Wells: A dedicated relief-well operation in deepwater was implemented and rap-
   idly took innovative steps including:

        •     Planning, risk management, acquisition of a drilling vessel and spudding of the initial relief well within 12 days
              of the Deepwater Horizon incident;

        •     The identification of optimal kill strategies for deepwater, and the selection of “pass-by” ranging as the
              appropriate strategy for subsea;

        •     The initial development of two non-wireline ranging tools that will enable ranging while drilling;

        •     The equipping and positioning of vessels to provide mud- and cement- pumping capabilities offshore, as well
              as the construction of an offshore cement mixing and pumping plant;

        •     The development of procedures to drill in the presence of VOCs while maintaining strict standards for
              safety; and

        •     Drilling to within 30 to 50 feet of intercept in approximately 100 days.




                                                                                                                                                   23




   The drilling of two relief wells was part of the containment plan for ensuring final “kill” of the Deepwater Horizon well. A dedicated relief
   well operation was stood up and rapidly took innovative steps allowing the drilling of a relief well to within 30 to 50 feet of intercept in
   approximately 100 days.
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     Resulting Capabilities Available for Deployment: The efforts of the relief-well organization to date have produced a
     range of expanded capabilities that can be refined if needed in future efforts:

         •    A breakthrough in the development of two non-wireline ranging technologies and the verification of pass-by
              as the appropriate technique;

         •    The development of diagnostics and a decision tree to select optimal kill strategies in deepwater conditions;

         •    Procedures for safe drilling with hydrocarbons in the water;

         •    Technologies and blueprints for equipping and positioning boats to provide mud- and cement- pumping
              capabilities offshore, as well as to mix cement; and

         •    Plans and organizational schemes for immediate standup of a dedicated relief-well team.



     Long-Term Containment Disposal Project
     The mission of the Long-Term Containment Disposal Project (CDP) team was to design a six-month containment
     solution while other teams continued to focus on near term containment, the day-to-day response and the relief wells.


24   Prior Industry Practice: Many aspects of the solution selected for containment disposal have not previously been
     deployed, either in the Gulf of Mexico or globally. The CDP plan was built around the adaptation of floating production,
     storage and offloading (FPSO) units, which had not previously been used in the Gulf of Mexico.

     Other elements of the solution were also not yet standard industry practice in the Gulf of Mexico, including
     free-standing risers, dynamically positioned offtake shuttle tankers, flexible pipelines and the use of a dedicated
     methanol-deployment-purposed vehicle and seabed distribution system for hydrate mitigation.

     Innovations Undertaken in CDP: The CDP team pursued a range of innovations in planning, mitigating the risks of
     and implementing a project that, from inception to deployment, took about eight weeks compared to the normal three
     or more years for a similar project:

         •    The identification, modification and deployment within seven weeks of two FPSOs, the Toisa Pisces and the
              Helix Producer 1, the first in the Gulf of Mexico planned for long-term containment. The Helix Producer 1
              ramped up to more than 20,000 barrels of collection on July 13, prior to well shut in;




                                                                  CAPABILITY HIGHLIGHT
                                                                  Development in a compressed time period of a robust system
                                                                  for long-term containment featuring the first installation
                                                                  of free-standing riser, hydrate inhibition and emergency
                                                                  hurricane disconnection capability
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        •     The design, construction and installation of the first two containment purposed free-standing risers in the
              Gulf of Mexico;

        •     The development of a hurricane-impact mitigation system including a quick-connect/disconnect release
              mechanism for a rapid evacuation;

        •     The deployment of three DP2-class shuttle tankers, each with capacity of 750,000 barrels, allowing FPSOs to
              offload while attached to a free-standing riser;

        •     The design and implementation of a hydrate-inhibition system featuring the engineering of a subsea
              methanol delivery system from a dedicated vessel;

        •     The use of coiled tubing for supplying subsea dispersant to the source at the seafloor;

        •     The use of standardized connectors allowing a range of tankers to connect to the FPSOs for offloading; and

        •     The option for tie-back into nearby production facilities to provide a “hurricane proof” route for disposal, if
              necessary. This option was created by re-scoping other developments on BP-operated infrastructure. Major
              plant vessels were on standby until the need ceased.




                                                                                                                                       25




   The Containment and Disposal Project team quickly developed a six-month solution for containing hydrocarbon flow with innovations
   including the first Gulf deployment of free-standing risers and a novel hydrate-inhibition system.
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     Resulting Capabilities Available for Deployment: The CDP solution offers numerous opportunities for long-term
     operation as well as containment disposal in the event of a spill:

          •    A full blueprint and proof of principle for a novel solution for the Gulf of Mexico adapting existing technolo-
               gies – including FPSOs, the first producing free-standing risers, flexible pipe, and DP2-class shuttle tankers. This
               solution combines the potential for rapid deployment with flexibility and robustness for long-term operation;

          •    Demonstrated hydrate-mitigation systems; and

          •    Hurricane-impact avoidance and rapid emergency responsiveness.



     Subsea Dispersants
     BP, working closely with the U.S. Coast Guard and the U.S. Environmental Protection Agency (EPA), reviewed and
     undertook a subsea deployment of dispersants with the objective of reducing the environmental and safety impact of
     the release of oil from the Deepwater Horizon well.

     Industry Practice on Dispersants: The EPA has permitted use of dispersants subsea to remediate oil spills since
     the 1990s.


26   Although there have been limited trials and some discussion in technical papers of applying dispersant to the source,
     industry practice in general has been to deal with subsea oil spills by first allowing the hydrocarbons to rise to the
     surface and then dispersing the oil through aerial application of dispersant. However, most oils evaporate quickly,
     leaving a waxy residue which is unresponsive to chemicals and limits the times at which dispersants can be successfully
     applied at the surface. In addition, there is an indication that injecting dispersants into colder oil on the surface or into a
     mixture of oil and seawater requires more chemical to achieve the desired effect.

     Innovations Undertaken in Dispersants: Under the supervision of Unified Command, BP undertook a novel
     approach to dispersant use:

          •    Following multiple tests and computer modeling soon after the incident, the first subsea injection of
               dispersant directly into oil at the source, using newly engineered tools at the site of the RITT and later, at the
               open top hat containment device;

          •    Reduction of dispersant use at the surface by almost 70 percent with good results, as measured by
               observation of lower amounts of oil and lower measurements of VOCs at the surface, enhancing safety
               of containment operations at the site;



                                                                     CAPABILITY HIGHLIGHT
                                                                     Novel subsea systems to inject dispersant efficiently at
                                                                     source, with demonstrated effectiveness in substantially
                                                                     reducing surface oil and VOCs
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         •    The testing of alternative subsea dispersant mechanisms, such as the use of subsea bladders in the Subsea
              Autonomous Dispersant Injection (SADI) and automatic injection of dispersant in the event of hurricane
              evacuation; and

         •    The development of surface observational tests of subsea dispersant effect.

   Resulting Capabilities Available for Deployment: The use of dispersants subsea has resulted in the potential for
   further advancements in their use, along with areas for additional investigation and action:

         •    A process that is more efficient in dispersing oil, allowed surface use of dispersants to decrease by nearly 70
              percent, reduced VOC emissions at the containment site and reduced shoreline impacts;

         •    New and potential tools and processes for subsea application of dispersants.

         •    The proven capability to ramp-up supply of dispersant; and

         •    The potential to improve on the current swirl test for dispersant effectiveness.




                                                                                                                                               27




   Surface oil above the source before and after subsea dispersant injection. Testing found that dispersant use reduced the level of oil and
   volatile organic compounds (VOCs) at the surface, enhancing safety and making subsea containment efforts possible.
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     Subsurface, Seabed and Water-Column Monitoring
     Subsurface, seabed and water-column monitoring were essential to the well-integrity test, the hydrostatic
     diagnostic test and subsea dispersant application and required sophisticated research tools and data-sharing
     systems. Monitoring activities were conducted in coordination with federal and state government agencies,
     academic and independent research institutions, individual scientists and researchers and vessel operators.

     Prior Industry Practice in Subsurface, Seabed and Water-Column Monitoring: Standard geophysical
     practices used in regular industry operation, as well as proven techniques employed in previous well-control
     incidents, were available for subsurface and seabed monitoring operations.

     Innovations Undertaken in Subsurface, Seabed and Water Column-Monitoring: In coordination with
     multiple stakeholders, responders used innovative strategies and protocols to rapidly, efficiently and accurately
     monitor the integrity of the subsurface, seabed and water column, including:

         •    Formation of the Deepwater Horizon Joint Analysis Group (JAG), a team of academics and experts from
              agencies including National Oceanographic and Atmospheric Administration (NOAA), EPA, United
              States Geological Survey (USGS), and the White House Office of Science and Technology Policy, to
              analyze subsurface monitoring data;

         •    Systems to rapidly deliver monitoring data, such as seismic monitoring to identify subsurface changes
28            at six-to-24 hour intervals -- an industry first (compared to most industry experience of time-lapse
              changes at the “monthly” or “yearly” interval);

         •    Seismic lines were safely shot through an extremely narrow corridor between other vessels with clear-
              ances of approximately 200 meters or less, to either side of planned seismic lines (compared to industry
              norm rarely within a 500 meter zone or marine obstructions);

         •    Multiple active and passive acoustic-monitoring devices at the seabed and in the water column;

         •    Wellhead-mounted geophone for integrity monitoring;

         •    Continuous monitoring of the wellhead, seabed and water column visually and through ROV sonar
              coverage and subsea-mounted acoustic-monitoring devices;




                                                               CAPABILITY HIGHLIGHT
                                                               Experience in coordinating industry, agency and academic
                                                               expertise to efficiently produce reliable, high-quality data on
                                                               subsurface, seabed and water column conditions
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   Water-Column Monitoring




   A response worker takes samples. In coordination with multiple
   stakeholders, responders used innovative strategies and protocols to
   rapidly, efficiently and accurately monitor the integrity of the subsurface,
   seabed and water column.
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                                         Gulf Coast                                                                                            RADAR SATELLITE 


                                           Integrated
                                           Water Column                                                                                                                            DISCUS BUOYs 
                                           Monitoring                                                                                                                              Standard anchored
                                                                                                                                                                                   NOAA buoys for Met
                                                                                                                                                                                   and water quality




       PLANE DEPLOYED BUOYs                                                                                                                                                                         ARGO FLOATs
                                                                                                                                                                                                                          

                                                                                                                                                                                           Allows the monitoring of a
         Buoys deployed from airplanes are                                                                                                                                                 specific water mass in the
           used as drogues to track surface                                                                                                                                               subsurface for basic ocean
        currents and may have water quality                    SONOBUOY                                                                                                                state variables (temperature,
       measuring systems, i.e., conductivity,                                                                                                                                                 oxygen, salinity, depth).
         temperature, and GPS for tracking.




                            TOWFISH ACOUSTIC
                            Same as Simrad, but a towed device, on a                                           GCMS HYDROCARBON ANALYZER
                            cable (tether) that can be used to measure the                                      Gas Chromatograph/Mass Spec -
                            acoustic characteristics of the water column.                                       analyzes HC can be used to get finger
                            The information is sent back to the fish via the                                    print of specific provenance of oil.
                            tether.
                                                          

   SENTINEL SNARE PROGRAM
   A passive absorbent device that
   is deployed from vessels of
                                                                                                                                                        SIMRAD EK-60
                                                                                                                                                                                       
   opportunity in shallow water
   and revisited to see signs of oil.                                                                                                             ACOUSTIC MONITORING
                                                                         TRAWL NET                                                     EK-60 sonar suite is used to monitor wellhead                                        ROVs have been used to
                                                                                                                                        integrity as part of a combined approach along                                        inspect the seafloor
                                                                           Mid-water fish sampling,                                    with seismic mapping. Can map methane seeps
                                                                           sometimes dragged along at                                                                                                                         around the well visually
                                                                                                                                        by targeting rising rubbles in the water column.                                      and acoustically. So far
                                                                           lower depths for bottom fish.                                   This system can also be used to map the 3-D                                        no sunken oil or tar balls
                                                                                                                                                           characteristics of the bottom.                                     have been observed.
                                                                                                                                                                                                                                     
   SHIP DEPLOYED AUVs                                                                                                                                                                                                                    ROVs
                                                                                                                                            ROSETTE
   Autonomous Unterwater Vehicles                                                                                                     Water sampler with
          deployed from the ships                                                                                              multiple canisters that can
                                                                                                                                                                                                            HORIZON BOP
                                                                                                                                                                                                                              
                                                                                                    GLIDER AUV                be actuated depending on      
                                                                                                                                 depth. Used to collect a
                                                                                                     An autonomous               profile of water samples                     CORE SAMPLER 
                      GULPER AUV (PREVIOUS DEPLOYMENT)                                              device like an AUV but        from different depths.           Piston corer or gravity
                                                                                                     w/o propellers. Moves
                      The multibeam sonar produces high-resolution bathymetry                        itself through the                                                 corer to send a 4”
                      (analogous to topography on land), the sidescan sonars produce                                                                                tube to the bottom to
                                                                                                     water column using                        ACOUSTIC DOPPLER sample the vertical
                                                                                                                                           




                      imagery based on the intensity of the sound energy’s reflections,              currents. Has limited
                      and the subbottom profiler penetrates sediments on the seafloor,               mobility using its fins                   CURRENT PROFILER          occurence of HC.
                      allowing the detection of layers within the sediments, faults, and             to “steer” it.                            Measures sub-surface
                      depths to the basement rock.                                                                                             currents.



Water column and subsea monitoring operations. Data and water samples collected helped
inform a range of response activities, including subsea dispersant injection techniques.
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         •    The use of Autonomous Underwater Vehicles (AUVs) seabed clearance and high-resolution 2D seismic
              surveys to inform relief-well drilling;

         •    Complex seismic-monitoring operations conducted before well integrity testing and hydrostatic
              diagnostic testing;

         •    A continuously updated simulated forecast of subsurface oil distribution, conducted in
              conjunction with the Foundation for Scientific and Industrial Research (SINTEF) at the Norwegian
              Institute of Technology;

         •    The development of Dispersed Plume Characterization – a sample and analysis of the entire water
              column from surface to seabed;

         •    The design of a rigorous aerial, surface and subsea program to monitor the effect of subsea dispersant
              application on the oil and the water column; and

         •    The deployment and coordination of multiple vessels, platforms, and new technologies such as AUVs,
              high-endurance wave gliders, and passive sampling devices, as well as two retrofitted deepsea research
              vessels with marine laboratories, specialized monitoring equipment and teams of marine scientists.

     Resulting Capabilities Available for Deployment: These innovations have resulted in a series of new
     capabilities that can be adapted and refined for deployment including:
30
         •    An established regime for water-column monitoring that is continuing to operate;

         •    A large and nearly continuous set of high-quality data, as well as thousands of water samples that will
              continue to inform new scientific learnings and future response strategies;

         •    Robust dispersant monitoring and evaluation systems to help inform dispersant injection rates subsea;

         •    Streamlined system to acquire, process and interpret geophysical data in less than 24 hours and
              standardized protocols for sampling, data collection, and information-sharing;

         •    An improved understanding of the effect of subsea dispersant application; and

         •    New techniques for detecting geophysical differences in the subsurface and the water column.
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     From Offshore to Shoreline:
     “All Oil Spill Response is Local”
     The response to environmental incidents of large scale requires a mindset that transcends traditional approaches.
     Oil spills have a wide range of impacts on water and shoreline as well as local communities.

     The team quickly recognized that, due to the scale and extent of the incident, it needed a comprehensive
     strategy, captured in a catchphrase used by the spill response team: “all oil spill response is local.”

     Based on this perspective, the team’s actions across the response theater can be broken down into
     five primary activities:

         •    Preparedness drives more effective resource deployment and utilization in the first days of the
              response.

         •    First response comprises the tactics developed to ensure rapid deployment to address the most likely
              scenarios. Critical elements include the engagement of community resources through programs such
                                                                                                                         Supplemental multimedia
              as Vessels of Opportunity (VOO).                                                                           available for this subject:
32                                                                                                                       Response Video 1:
                                                                                                                         Response Overview
         •    Assessment and surveillance reflect the priority of understanding the situation at hand, and
              assembling information in a manner that supports the development of clear objectives. Shoreline
              Clean-up Assessment Teams (SCAT) provide an assessment process that engages stakeholders at every
              phase of the response, and multiple surveillance tools are integrated into a COP supporting the broader
              response.

         •    Prevention systems and capabilities require strong coordination and controls given their
              interdependence and the need to minimize the footprint of restoration. Decisions as to when and
              where skimming, controlled in-situ burning and dispersant are deployed require understanding of their
              capabilities, and boom represents the final barrier in shoreline protection beyond these tools. A Branch
              Office Structure further improves the effectiveness of these decisions.

         •    Restoration of the shoreline usually takes up the majority of the time in a response due to the delicate
              nature of the coastal environment. Marsh-cleaning and beach-cleaning, while sharing the goal of
              returning the impacted area to its original condition, are significantly different activities requiring
              different tools, logistical support and skill sets.
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   Strategic planning was key to staying ahead of events in the response effort as it unfolded. For example, a severe
   weather planning function was stood up on May 21, well before the first tropical storm, Bonnie, which occurred
   in late July.

   Ultimately, as was the case with containment, the intensity and sense of urgency behind the response in each
   of these five activities has generated new or modified systems and capabilities that, if maintained, shared and
   institutionalized, can increase the effectiveness of future efforts.




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   A response worker removes debris. The insight that the response operated under the catchphrase “All oil spill response is local.”
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     Preparedness
     Area Contingency Planning
     Area Contingency Plans (ACPs), created by local government officials in each state, represent an important planning
     and preparedness tool in oil spill response. A robust ACP is built with strong collaboration between all stakeholders
     and industry, identifies the sensitive environmental areas to be protected, defines the proven protection strategies,
     and identifies the resource needs for implementing those strategies. Effective ACPs, when properly constructed and
     implemented, are key not only to coordinated responses but also to local understanding of, and pre-agreement to,
                                                                                                                                     Supplemental multimedia
     strategies and allocation of resources that are critical to rapid deployment.                                                   available for this subject:
                                                                                                                                     Response Video 2:
                                                                                                                                     ICPs at Work
     Prior ACP Practice: Current ACPs, intended to provide some of the priorities and plans for immediate shoreline
     protection, are constructed largely on a state-by-state basis with “macro-level” response protocols.

     A complete ACP enables response teams to apply best practices for allocation of response resources.

     Response Team Efforts to Enhance ACPs: The response team worked to assist states in refining or developing ACPs
     and geographical response plans to enable the most effective possible response to spills and their aftermath, including:

         •    Advocacy for full local participation and industry involvement in developing parish-by-parish, town-by-town
              trigger-point geographic response plans which clearly specify when and where to deploy resources based on
              local conditions and oil movement; and
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         •    Specific support and facilitation of Florida workshops that produced a draft ACP that may provide a model for
              other states to follow, with clear goals and metrics, detailed specifications in its environmental plan, spelled-out
              resource requirements and specific reference to the involvement of responders, vendors and stakeholders.

     Resulting Capabilities: Continuation of industry, state and local efforts to enhance ACPs could provide valuable
     benefits for future responses including:

         •    Specific booming strategies, grounded in ACPs, and informed by actual performance and effectiveness across
              a four-state area;

         •    The opportunity to follow the process built by the response team in facilitating the draft Florida ACP and to
              suggest it as a model for other states; and

         •    Efforts to achieve state and local advance agreement to overall strategies and priorities in allocation of
              resources, including informed support for best practices in areas such as booming, spill remediation and
              protection of sensitive habitats and areas.



                                                                CAPABILITY HIGHLIGHT
                                                                Specific booming plans and placement detail across the
                                                                four-state response area, grounded in Area Contingency Plans
                                                                (ACPs) and informed by actual performance and effectiveness
